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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,680,941

        This claim chart demonstrates NexTraq’s infringement of U.S. Patent No. 9,680,941 and provides notice of such infringement, by comparing
each element of the asserted claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts include
information provided by way of example, and not by way of limitation.
      “Accused Instrumentalities” as used herein refers to herein provide event-based notifications/alerts based on locations of fleets of vehicles,
equipment, objects, drivers, and other assets equipped with sensors or tags (the Assets).
       1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet

Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides data to

NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions that support:


              (a)     NexTraq®’s Fleet Visibility and Productivity products, services and solutions which are used for vehicle tracking

                      (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-

                      fencing and mapping (https://www.nextraq.com/services/geofencing-mapping/), real-time alerts

                      (https://www.nextraq.com/services/real-time-alerts/), sensors (https://www.nextraq.com/services/sensors/) and integration with

                      third party platforms, solutions and/or applications (https://www.nextraq.com/services/integration/);

              (b)     NexTraq®      View™      and   NexTraq®      Connect™      mobile    apps   which     are   used   by   mobile      work   force

                      (https://www.nextraq.com/services/mobile-apps/);

              (c)     NexTraq® Fleet Defender (https://www.nextraq.com/services/fleet-defender/) and NexTraq® Dashcam™

                      (https://www.nextraq.com/services/dashcam/) which are used for drive safety;



                                                                          1




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                                                          PerDiemCo LLC v. NexTraq
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                                                           U.S. Patent No. 9,680,941

               (d)     NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-

                       assignment/)



NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:

       The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:

               1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)

               2-Asset Trackers Family of products (e.g., AT-730, AT-5100)

               3-Trailer Trackers (e.g., TT-2830)

               4-GPS Tracking Devices (e.g., LMU26H201-NXT01)

               5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.

        The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities. An
analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made available
to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court order construing
any terms recited in the asserted claim.
         Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ’941 patent in violation of 35 U.S.C. § 271(a) by selling, offering
to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement. Unless
otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35 U.S.C. §§
271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells, imports, or offers
for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make, use, sell,
import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority products,
equipment, or services that infringe claims the ’941 patent, including without limitation, the Accused Instrumentalities.

                                                                             2




                                                                                                                                                   Exhibit A-1
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                                                          PerDiemCo LLC v. NexTraq
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                                                           U.S. Patent No. 9,680,941

        Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision of the
Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met, PerDiemCo
believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Infringing
Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the corresponding features of
the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at least
substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.
         To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo asserts
that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to amend
this infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the right to
amend this infringement analysis by citing other claims of the ’941 patent, not listed in the claim chart, that are infringed by the Accused
Instrumentalities. PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in
the “Accused Instrumentalities” column of each chart.


 Claim       US Patent        Description of the Infringement
             9,680,941
  1-p    A location           NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
         tracking system      information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
         comprising:          including servers and databases or other resources that are accessed with the Internet connection through on-premise or
                              another provider's shared cloud computing framework, including servers and databases administered by third parties.
                              On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
                              securely control access to S resources used by NexTraq’s cloud-based solution. More specifically, the Accused
                              Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
                              resources.




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )

                       On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
                       servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
                       Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
                       data warehouse solution.

                       On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
                       would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
                       service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                       engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)
                       -----------------------------------------------------------------------------------------------------------------------------------------------
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    Accused Instrumentalities provides a system and method for tracking locations of a plurality of mobile objects/assets.

                                                                      Location Information




                    (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                    (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)


                                                Mobile Devices Equipped with Location Information Sources
                    1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                    2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                    3-Trailer Trackers (e.g., TT-2830)
                    4-GPS Tracking Devices (e.g., LMU26H201-NXT01)


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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                    (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                   PerDiemCo LLC v. NexTraq
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                                                    U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)




                    (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                    (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                        PerDiemCo LLC v. NexTraq
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                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




                            (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                            0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                            225724&mkgroupid=1228154759183859&rlsatarget=pla-
                            4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
 1-a    one or more         See 1-p for location information, servers, DBSM, DBMSA and DB.
        servers capable
        of receiving        NexTraq uses cloud servers of an on-premise data warehouse or servers of Amazon Web Services (AWS). The servers
        identifiers and     receive identifiers and location information for the mobile devices identified by mobile device identification codes.
        location
        information for a                                  Mobile devices identified with device identification codes
        plurality of        The mobile devices are identified by Hardware IDs.
        mobile devices
        having
                                                                           12




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,680,941

Claim       US Patent     Description of the Infringement
            9,680,941
        corresponding
        mobile device
        identification
        codes that        (Source: Page No. 2 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
        identify each
        mobile device;    Identifiers and location information is received for a plurality of mobile devices.
        the one or more
        servers
        configured to:

                          (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                          (Source: Page No. 111 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim      US Patent       Description of the Infringement
           9,680,941




                           (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

 1-b    store in one or    See 1-p for location information, servers, DBSM, DBMSA and DB.
        more databases
        information for    See 1-a for mobile devices and mobile device identification codes.
        groups of users    The servers are configured to store in databases information for groups of users of mobile devices based on
        of mobile          corresponding group identification codes that identify each group, for example, Sandstone Freight.
        devices based on
        corresponding
        group
        identification
        codes that
        identify each
        group,

                                                                        14




                                                                                                                                           Exhibit A-1
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 111 of http://www.alltrackusa.com/RTH_user_guide.pdf)


                    As subscribers of the services provided by the Accused Instrumentalities, the authorized users are employed by
                    customers of NexTraq in different customer groups. These customer groups are identified in the on-premise data
                    warehouse or the AWS database (DB) by corresponding group IDs (GIDs), such as customer name. NexTraq
                    administrator’s first level of administrative privilege is used for performing one or more first administrative functions,
                    such as creating customer accounts. Each customer accounts serves a plurality of users which form a corresponding
                    customer group.

                                                             Groups identified by Group IDs (GIDs)




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                                                                                                                                    Exhibit A-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                    ---------------------------------------------------------------------------------------------------------------------------------------------
                    Tracking services provided by Accused Instrumentalities are used by authorized users, such as managers. The users are
                    identified by user IDs.

                                                                         Users identified by user IDs




                    (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                                    Exhibit A-1
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                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                       -------------------------------------------------------------------------------------------------------------------------------------------
                       One or more databases in on-premise data warehouse or AWS store information for groups of users of mobile devices
                       based on group identification codes that identify each group, i.e., company or organization names.

                                                                                       Databases




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                                                                                                                                                        Exhibit A-1
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,680,941

Claim      US Patent      Description of the Infringement
           9,680,941




                          (Source: Page No. 111 of http://www.alltrackusa.com/RTH_user_guide.pdf)


 1-c    each user in a    See 1-p for location information, servers, DBSM, DBMSA and DB.
        group having a
        user              See 1-a for mobile devices and mobile device identification codes.
        identification
        code associated   See 1-b for groups, group identification codes, users and user identification codes.
        with a
        corresponding     Each user in a company group has a user identification code associated with a corresponding group identification code
        group             identifying customer company or organization names in the on-premise data warehouse or AWS databases.
        identification
        code in the one   NexTraq (or an administrator employed by NexTraq) uses first level of administrative privilege to specify customersby
        or more           creating customer accounts using corresponding company names in the on-premise data warehouse or AWS databases.
        databases, the
        user

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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,680,941

Claim       US Patent         Description of the Infringement
            9,680,941
        identification
        code identifying
        the user, said
        groups being
        defined by a first    (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
        administrator
        having a first
        level of
        administrative
        privilege,




                              (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                              (Source: Page No. 2 of https://www.nextraq.com/terms-and-conditions/ )
 1-d    said first level of   See 1-p for location information, servers, DBSM, DBMSA and DB.
        administrative
        privilege being       See 1-a for mobile devices and mobile device identification codes.
        used to authorize
                                                                            21




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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        a user in each      See 1-b for groups, group identification codes, users and user identification codes.
        group to be a
        second              See 1-c for first administrator and first level of administrative privilege.
        administrator of
        a plurality of      NexTraq’s (or the administrator employed by NexTraq)_ uses the first level of administrative privilege to authorize a
        second              user in each group to be a group administrator (i.e.,second administrator) of a plurality of group administrators (i.e.,
        administrators,     second administrators) for each customer.
        each second                                                        Second Administrator
        administrator
        having a
        corresponding
        second level of
        administrative
        privilege
                            (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
        associated with a
        group;


                            (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                            ---------------------------------------------------------------------------------------------------------------------------------------------
                            Each second administrator has a corresponding second level of administrative privilege associated with a customer group.

                                                                          Second level of administrative privileges




                            (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )



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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: https://www.nextraq.com/terms-and-conditions/ )
                       Account administrator is given the second level of administrative privileges at the customer level (i.e., group level) with access to
                       all tabs. Any admininstaror at the group level with access to alert and zone tabs possesses the second level of administrative
                       privileges.




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 9,680,941

Claim   US Patent      Description of the Infringement
        9,680,941




                       (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim      US Patent       Description of the Infringement
           9,680,941




                           (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-e    store in the one   See 1-p for location information, servers, DBSM, DBMSA and DB.
        or more
        databases          See 1-a for mobile devices and mobile device identification codes.
        information for
        the plurality of   See 1-b for groups, group identification codes, users and user identification codes.
        second
        administrators,    See 1-c for first administrator and first level of administrative privilege.

                           See 1-d for second administrators and second level of administrative privileges.

                           The databases store information regarding the plurality of second administrators.


                                                                          25




                                                                                                                    Exhibit A-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-f    each second         See 1-p for location information, servers, DBSM, DBMSA and DB.
        administrator
        using the           See 1-a for mobile devices and mobile device identification codes.
        corresponding
        second level of     See 1-b for groups, group identification codes, users and user identification codes.
        administrative
        privilege after a   See 1-c for first administrator and first level of administrative privilege.
        corresponding
        group is defined    See 1-d for second administrators and second level of administrative privileges.
                                                                       26




                                                                                                                     Exhibit A-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim       US Patent      Description of the Infringement
            9,680,941
        by the first
        administrator to   After a group is defined (i.e., a customer account is created) by NexTraq (or the administrator employed by NexTraq),
        specify one or     i.e., the first administrator, the corresponding group administrator (i.e., the second administrator of the group) uses its
        more               second level of administrative privilege to specify information access codes.
        information
        access codes,                                                     Information Access Codes




                           (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                           (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                               PerDiemCo LLC v. NexTraq
                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)


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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-g    said one or more    See 1-p for location information, servers, DBSM, DBMSA and DB.
        information
        access codes        See 1-a for mobile devices and mobile device identification codes.
        specifying one or
        more users in the   See 1-b for groups, group identification codes, users and user identification codes.
        corresponding
        group having        See 1-c for first administrator and first level of administrative privilege.
        access 1) to
        location            See 1-d for second administrators and second level of administrative privileges.
        information and
        2) to event         See 1-f for information access codes.
        information
                                                                           29




                                                                                                                     Exhibit A-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        other than          The information access codes specify one or more users, such as fleet managers, in each group having access to location
        location            information and 2) to event information (in the form of alerts) other than location information.
        information,
        wherein the                                                                      Fleet managers
        location
        information
        corresponds to a
        coordinate of a
        mobile device
        within a
        coordinate
        system              (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )
        corresponding to    ---------------------------------------------------------------------------------------------------------------------------------------------
        a map as            GPS location information sources are associated with mobile device, wherein the location information corresponds to a
        determined by       coordinate of a mobile device within a coordinate system provided by a map.
        the location                                                                   Location Information
        information
        source associated
        with the mobile
        device; and


                            (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                                                                                                                            Exhibit A-1
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)



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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                    ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                             Event Information/Alerts




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                               PerDiemCo LLC v. NexTraq
                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941
                            (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                            (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)
 1-h    wherein the         See 1-p for location information, servers, DBSM, DBMSA and DB.
        event
        information         See 1-a for mobile devices and mobile device identification codes.
        comprises at
        least one of a      See 1-b for groups, group identification codes, users and user identification codes.
        condition that
        relates a mobile    See 1-c for first administrator and first level of administrative privilege.
        device location
        information to a    See 1-d for second administrators and second level of administrative privileges.
        zone where the
        occurrence of the   See 1-f for information access codes.
        event causes an

                                                                           35




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        alert to be sent    See 1-g for location information and event information.
        when a mobile
        device crosses a    The event information comprises a condition that relates a mobile device location information to a zone where the
        boundary            occurrence of the event, such as arrivals and departures cause an alert to be sent when a mobile device crosses a boundary
        associated with     associated with the zone.
        the zone,
        wherein the first                                          Event Condition Based on Boundary/Zone
        administrator
        defines the
        corresponding
        group
        independent of a
        location of a
        zone;




                            (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




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                                                                                                                                           Exhibit A-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                    ---------------------------------------------------------------------------------------------------------------------------------------------
                    The first administrator defines the corresponding group independent of a location of a zone, which has a boundary
                    defined by a plurality of coordinates within the coordinate system.




                    (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                                                                                                                    Exhibit A-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 169 of http://www.alltrackusa.com/RTH_user_guide.pdf )




                            (Source: Page No. 29 of http://www.alltrackusa.com/RTH_user_guide.pdf )
 1-i    control access to   See 1-p for location information, servers, DBSM, DBMSA and DB.
        the location

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                                                                                                         Exhibit A-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim       US Patent      Description of the Infringement
            9,680,941
        information and    See 1-a for mobile devices and mobile device identification codes.
        the event
        information in     See 1-b for groups, group identification codes, users and user identification codes.
        order to protect
        the privacy of     See 1-c for first administrator and first level of administrative privilege.
        the location
        information and    See 1-d for second administrators and second level of administrative privileges.
        the event
        information        See 1-f for information access codes.
        based on the one
        or more            See 1-g for location information and event information.
        information
        access codes;      See 1-h for condition, zone and boundary.

                           Access to the location information and the event information/alerts is controlled to protect the privacy of the location
                           information and the event information in form of alerts based on the one or more information access codes.
                           Event information in the form of alerts is sent only to those authorized users such as managers identified in the alerts.




                           (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                               PerDiemCo LLC v. NexTraq
                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)


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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,680,941

Claim      US Patent      Description of the Infringement
           9,680,941




                          (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-j    check the first   See 1-p for location information, servers, DBSM, DBMSA and DB.
        level of
        administrative    See 1-a for mobile devices and mobile device identification codes.
        privilege to
        authorize the     See 1-b for groups, group identification codes, users and user identification codes.
        second
        administrator     See 1-c for first administrator and first level of administrative privilege.
        having a second
        level of          See 1-d for second administrators and second level of administrative privileges.
        administrative
        privilege to be   See 1-f for information access codes.
        associated with
                                                                         42




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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        the group; check    See 1-g for location information and event information.
        the second level
        of administrative   See 1-h for condition, zone and boundary.
        privilege to
        control             On-premise data warehouse or AWS (for example, AWS IAM) checks first level of administrative privilege of
        conveyance of       NexTraq’s administrator.
        the location and
        the event
        information
        regarding the
        group using the
        one or more
        information
        access codes;




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 1 of
                    https://signin.aws.amazon.com/signin?redirect_uri=https%3A%2F%2Faws.amazon.com%2Fmarketplace%2Fmanagement%2Fs
                    ignin%3Fstate%3DhashArgs%2523%26isauthcode%3Dtrue&client_id=arn%3Aaws%3Aiam%3A%3A015428540659%3Auser%
                    2Faws-mp-seller-management-
                    portal&forceMobileApp=0&code_challenge=NYKP4aX0wYyyWBOSFoRTm5zPRRoVZqHdO6JW1cv8U2g&code_challenge_me
                    thod=SHA-256)
                    ---------------------------------------------------------------------------------------------------------------------------------------------

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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    NexTraq administrator checks the second level of administrative privilege via admin log in to control conveyance of the
                    location and the event information in the form of alerts regarding the group.

                                                          Check second level of administrative privilege




                    (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                    (Source: https://www.nextraq.com/terms-and-conditions/ )




                    (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,680,941

Claim      US Patent      Description of the Infringement
           9,680,941




                          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-k    provide one or See 1-p for location information, servers, DBSM, DBMSA and DB.
        more interfaces
        configured to   See 1-a for mobile devices and mobile device identification codes.
        receive
                                                                       46




                                                                                                     Exhibit A-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941
        information      See 1-b for groups, group identification codes, users and user identification codes.
        related to a
        zone, an event, See 1-c for first administrator and first level of administrative privilege.
        and an alert for
                         See 1-d for second administrators and second level of administrative privileges.
        the group;
        receive a request   See 1-f for information access codes.
        to set a zone for
        the group, the      See 1-g for location information and event information.
        zone having a
        boundary that is    See 1-h for condition, zone and boundary.
        independent of
        where mobile        Interfaces receive information related to a zone, an event and an alert for the group
        devices are
        located;




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 169 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    Request to set a zone/geo-fence/landmark for the group is received, where the zone is independent of where mobile
                    devices are located.

                                                                      Request to Set Zone




                    (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,680,941

Claim       US Patent         Description of the Infringement
            9,680,941
                              (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                              (Source: Page No. 169 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-l    receive a request     See 1-p for location information, servers, DBSM, DBMSA and DB.
        to set an event
        for the group;        See 1-a for mobile devices and mobile device identification codes.
        receive a request
        to set an alert for   See 1-b for groups, group identification codes, users and user identification codes.
        the group, the
        request               See 1-c for first administrator and first level of administrative privilege.
        identifying a
                                                                             53




                                                                                                                       Exhibit A-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim       US Patent      Description of the Infringement
            9,680,941
        recipient of the   See 1-d for second administrators and second level of administrative privileges.
        alert;
                           See 1-f for information access codes.

                           See 1-g for location information and event information.

                           See 1-h for condition, zone and boundary.

                           Request to set geofence event for the group is received to set an alert for the group identifying a recipient of the alert.

                                                             Requests to Set Event and Alert Identifying Recipients




                           (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)



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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                               PerDiemCo LLC v. NexTraq
                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)


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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
1-m     store the group's   See 1-p for location information, servers, DBSM, DBMSA and DB.
        zone, event and
        alert in the one    See 1-a for mobile devices and mobile device identification codes.
        or more
        databases;          See 1-b for groups, group identification codes, users and user identification codes.
        receive
        identifiers and     See 1-c for first administrator and first level of administrative privilege.
        the location
        information         See 1-d for second administrators and second level of administrative privileges.
        for mobile
        devices in the      See 1-f for information access codes.
        group
                                                                           57




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    See 1-g for location information and event information.

                    See 1-h for condition, zone and boundary.

                    See 1-i for the event and alert.

                    The group's zone, event and alert are stored in the on-premise data warehouse or AWS databases.




                    (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                        Exhibit A-1
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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
                    ---------------------------------------------------------------------------------------------------------------------------------------------
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,680,941

Claim      US Patent         Description of the Infringement
           9,680,941
                             Identifiers and the location information for mobile devices in the group are received. (See 1-p and 1-a)
 1-n    compare the          See 1-p for location information, servers, DBSM, DBMSA and DB.
        identifiers and
        location             See 1-a for mobile devices and mobile device identification codes.
        information with
        the group's zone     See 1-b for groups, group identification codes, users and user identification codes.
        and event to
        determine            See 1-c for first administrator and first level of administrative privilege.
        whether to send
        the group's alert;   See 1-d for second administrators and second level of administrative privileges.

                             See 1-f for information access codes.

                             See 1-g for location information and event information.

                             See 1-h for condition, zone and boundary.

                             See 1-i for the event and alert.

                             NexTraq servers compare the identifiers and location information with the group's zone and event to determine whether
                             to send the group's alert.




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-o    cause the group's   See 1-p for location information, servers, DBSM, DBMSA and DB.
        alert to be sent;
        and convey the      See 1-a for mobile devices and mobile device identification codes.
        location
        information         See 1-b for groups, group identification codes, users and user identification codes.
        based on the one
        or more             See 1-c for first administrator and first level of administrative privilege.
        information
        access codes        See 1-d for second administrators and second level of administrative privileges.
        specified for the
        group under said    See 1-f for information access codes.
        second level of
        administrative      See 1-g for location information and event information.
        privilege.
                                                                           62




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    See 1-h for condition, zone and boundary.

                    See 1-i for the event and alert.

                    The group's alert is sent based on alerts specified by the administrator for the group under the second level of
                    administrative privilege.




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                               PerDiemCo LLC v. NexTraq
                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                               PerDiemCo LLC v. NexTraq
                                PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941
                    (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                    (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                    ---------------------------------------------------------------------------------------------------------------------------------------------
                    Location information is conveyed.




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
 3.     The system of       See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 1, where
        an information      See 1-a for mobile devices and mobile device identification codes.
        access code
        specified for the   See 1-b for groups, group identification codes, users and user identification codes.
        group comprises
        a group             See 1-c for first administrator and first level of administrative privilege.
        identification
        code.               See 1-d for second administrators and second level of administrative privileges.

                            See 1-f for information access codes.

                            See 1-g for location information and event information.

                            See 1-h for condition, zone and boundary.

                            See 1-i for the event and alert.


                            Accused instrumentalities convey event information/alerts to user based on information access code that comprises group
                            name.




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                                                                                                                                        Exhibit A-1
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)

 4.     The system of       See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 3, where
        the information     See 1-a for mobile devices and mobile device identification codes.
        access code
        specified for the   See 1-b for groups, group identification codes, users and user identification codes.
        group comprises
        an access list      See 1-c for first administrator and first level of administrative privilege.
        including one or
        more user           See 1-d for second administrators and second level of administrative privileges.
        identification
        codes associated    See 1-f for information access codes.
                                                                           69




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 9,680,941

Claim       US Patent    Description of the Infringement
            9,680,941
        with the group
        identification   See 1-g for location information and event information.
        code.
                         See 1-h for condition, zone and boundary.

                         See 1-i for the event and alert.

                         See claim 3 for information access code comprising group identification code.

                         The information access code specified for the group comprises an access list including one or more user identification
                         codes associated with the group identification code.




                         (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                                                                      70




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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,680,941

Claim       US Patent         Description of the Infringement
            9,680,941
 7.     The system of         See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 1, where
        said first level of   See 1-a for mobile devices and mobile device identification codes.
        administrative
        privilege is          See 1-b for groups, group identification codes, users and user identification codes.
        associated with
        an location and       See 1-c for first administrator and first level of administrative privilege.
        event (L&E)
        information           See 1-d for second administrators and second level of administrative privileges.
        service provider
        and said second       See 1-f for information access codes.
        level of
        administrative        See 1-g for location information and event information.
        privileges are
        provided by the       See 1-h for condition, zone and boundary.
        L&E information
        service provider      See 1-i for the event and alert.
        to customers of
        the L&E               In each customer environment, a second database management system software execute in computing devices of the
        information           authorized users of the respective customer group. The customer environment interfaces with the first database
        service, said         management system software, i.e., NexTraq’s Fleet Tracking platform, which provides (L&E) information service.
        mobile device
        identifications
        codes being
        associated with
        vehicles in a
        plurality of
        vehicle groups
        under the second
        level of the          (Source: Page No. 1 of https://www.nextraq.com/services/integration/ )
        administrative
                                                                             71




                                                                                                                                  Exhibit A-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        privileges,
        wherein each
        vehicle group
        comprises
        vehicles used by
        drivers             (Source: Page No. 2 of https://www.nextraq.com/resources/faqs/ )
        associated with
        corresponding
        mobile object
        identification
        codes under the
        second level of
        the
        administrative
        privileges, said
        mobile object
        identification
        codes being
        different from
        the mobile          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        device
        identification
        codes, each         ---------------------------------------------------------------------------------------------------------------------------------------------
        mobile object       The mobile device identifications codes such as hardware id are associated with assets in a plurality of asset groups under
        identification      the second level of the administrative privileges. Each asset group comprises asset used by drivers associated with
        code being          corresponding mobile object identification codes under the second level of the administrative privileges.
        associated with a
        mobile object
        comprising an
        NFC device,
        wherein a second
                                                                                72




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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,680,941

Claim       US Patent    Description of the Infringement
            9,680,941
        event associated
        with the mobile
        object that is
        different from
        the event is
        determined       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        based on
        proximity of the
        driver to the
        vehicle as
        determined using
        the NFC device.




                           (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 190 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                    ---------------------------------------------------------------------------------------------------------------------------------------------
                    Each mobile object identification code is associated with a mobile object comprising a Key fob reader device. A second
                    proximity event is associated with the Key fob reader device that is different from the geo-fence event. The second
                    proximity event is determined based on proximity of the driver to the asset as determined using Key fob reader device.




                    (Source: Page No. 1 of http://cdnmedia.endeavorsuite.com/images/organizations/9f89ed55-9211-42e8-a830-
                    949e92e81337/Driver%20Assignment%20-%20Functionality%20Overview.pdf?v=20120305141808 )




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 1 of http://cdnmedia.endeavorsuite.com/images/organizations/9f89ed55-9211-42e8-a830-
                            949e92e81337/Driver%20Assignment%20-%20Functionality%20Overview.pdf?v=20120305141808 )




                            (Source: Page No. 193 of http://www.alltrackusa.com/RTH_user_guide.pdf)


                            (Source: Page No. 10 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
 8.     The system of       See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 1, where
        the one or more     See 1-a for mobile devices and mobile device identification codes.
        servers are
        further             See 1-b for groups, group identification codes, users and user identification codes.
        configured to:
        determine           See 1-c for first administrator and first level of administrative privilege.
        occurrence of a
        second event that   See 1-d for second administrators and second level of administrative privileges.
        is different from
        the event, said     See 1-f for information access codes.
        second event

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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        being based on a    See 1-g for location information and event information.
        condition
        associated with     See 1-h for condition, zone and boundary.
        one or more
        mobile objects      See 1-i for the event and alert.
        other the one or
        more mobile         Each mobile object identification code (VIN) is associated with a mobile object (asset) comprising a Key fob reader
        devices, wherein    device. A second proximity event is associated with the Key fob reader NFC device that is different from the geo-fence
        a mobile object     event. The second proximity event is determined based on proximity of the driver to the asset as determined using Key
        identification      fob reader device, whereas the geo-fence event, such as arrivals and departures is based locations of mobile devices
        code that is        relative to geo-fences.
        different from
        the mobile
        device
        identification
        codes is
        associated with a
        mobile object,
        and wherein the
        occurrence of the   (Source: Page No. 1 of http://cdnmedia.endeavorsuite.com/images/organizations/9f89ed55-9211-42e8-a830-
        event and the       949e92e81337/Driver%20Assignment%20-%20Functionality%20Overview.pdf?v=20120305141808 )
        second event is
        determined
        based on a
        mobile device
        identification
        code and the
        mobile object       (Source: Page No. 1 of http://cdnmedia.endeavorsuite.com/images/organizations/9f89ed55-9211-42e8-a830-
        identification      949e92e81337/Driver%20Assignment%20-%20Functionality%20Overview.pdf?v=20120305141808 )
        code.

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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941




                            (Source: Page No. 193 of http://www.alltrackusa.com/RTH_user_guide.pdf)


                            (Source: Page No. 10 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
 9.     The system of       See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 8, where
        the one or more     See 1-a for mobile devices and mobile device identification codes.
        servers are
        further             See 1-b for groups, group identification codes, users and user identification codes.
        configured to:
        receive location    See 1-c for first administrator and first level of administrative privilege.
        information from
        the mobile          See 1-d for second administrators and second level of administrative privileges.
        device associated
        with the mobile     See 1-f for information access codes.
        device
        identification      See 1-g for location information and event information.
        code; receive
        location            See 1-h for condition, zone and boundary.
        information from
        the mobile object   See 1-i for the event and alert.
        associated with
        the mobile object   Each mobile object identification code (VIN) is associated with a mobile object (vehicle) comprising a Key fob reader
        identification      device. A second proximity event is associated with the Key fob reader device that is different from the geo-fence event,
        code; determine     such as arrivals and departures. The second proximity event is determined based on proximity of the driver to the vehicle
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim       US Patent       Description of the Infringement
            9,680,941
        occurrence of the   as determined using Key fob reader device, whereas the geo-fence event, such as arrivals and departures is based
        event based on      locations of vehicles relative to geo-fences.
        the location
        information from
        the mobile
        device associated
        with the mobile
        device
        identification
        code; and
        determine           (Source: Page No. 1 of http://cdnmedia.endeavorsuite.com/images/organizations/9f89ed55-9211-42e8-a830-
        occurrence of the   949e92e81337/Driver%20Assignment%20-%20Functionality%20Overview.pdf?v=20120305141808 )
        second event
        based on the
        location
        information from
        the mobile object
        associated with
        the mobile object   (Source: Page No. 1 of http://cdnmedia.endeavorsuite.com/images/organizations/9f89ed55-9211-42e8-a830-
        identification      949e92e81337/Driver%20Assignment%20-%20Functionality%20Overview.pdf?v=20120305141808 )
        code.




                            (Source: Page No. 193 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,680,941

Claim      US Patent        Description of the Infringement
           9,680,941

                            (Source: Page No. 10 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                            (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)

 11.    The system of       See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 1, where
        the one or more     See 1-a for mobile devices and mobile device identification codes.
        servers are
        configured to       See 1-b for groups, group identification codes, users and user identification codes.
        further control
        access privileges   See 1-c for first administrator and first level of administrative privilege.
        to sensor
        information         See 1-d for second administrators and second level of administrative privileges.
        other than the
        location and the    See 1-f for information access codes.
        event
        information         See 1-g for location information and event information.
        based the on one
        or more             See 1-h for condition, zone and boundary.
        information
        access codes.       See 1-i for the event and alert.

                            Various sensor information is provided by NexTraq Sensors.



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                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 2 of https://www.nextraq.com/services/sensors/)




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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,680,941

Claim       US Patent        Description of the Infringement
            9,680,941




                             (Source: Page No. 2 of https://www.nextraq.com/services/sensors/)

                             The servers are configured to further control access privileges to sensor information other than the location and the event
                             information in the form of alert based on one or more information access codes.
 12.    The system of        See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 1, where
        the first level of   See 1-a for mobile devices and mobile device identification codes.
        administrative
        privilege is used    See 1-b for groups, group identification codes, users and user identification codes.
        to administer a
        first information    See 1-c for first administrator and first level of administrative privilege.
        sharing

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                                                                                                                                             Exhibit A-1
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Claim        US Patent        Description of the Infringement
             9,680,941
        environment           See 1-d for second administrators and second level of administrative privileges.
        (ISE) and the
        second level of       See 1-f for information access codes.
        administrative
        privilege is used     See 1-g for location information and event information.
        to administer a
        corresponding         See 1-h for condition, zone and boundary.
        second ISE of a
        plurality of          See 1-i for the event and alert.
        second ISEs
        created within        NexTraq’s network of computing devices is a first information sharing environment (ISE) used by a plurality of
        the first ISE, said   authorized users in Customer environment, which is formed by its customers’ network of computing devices, i.e., second
        first and second      ISEs.
        ISEs comprising
        a computing
        network where
        the conveyance
        of the location
        and the event
        information from
        a server to the
        groups is
        controlled or
        configured,
        wherein each
        second ISEs is
        configured to be
        administered
        independent of
        other second          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        ISEs and the first
                                                                           83




                                                                                                                                         Exhibit A-1
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                                                          U.S. Patent No. 9,680,941

Claim       US Patent        Description of the Infringement
            9,680,941
        ISE using the        The first and second ISEs exists independent of each other.
        one or more
        information
        access codes.
 19.    The system of        See 1-p for location information, servers, DBSM, DBMSA and DB.
        claim 18, where
        said NFC device      See 1-a for mobile devices and mobile device identification codes.
        is associated
        with a driver of a   See 1-b for groups, group identification codes, users and user identification codes.
        vehicle.
                             See 1-c for first administrator and first level of administrative privilege.

                             See 1-d for second administrators and second level of administrative privileges.

                             See 1-f for information access codes.

                             See 1-g for location information and event information.

                             See 1-h for condition, zone and boundary.

                             See 1-i for the event and alert.

                             The Key fob device is associated with a driver of an asset.




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                                                                                                                      Exhibit A-1
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                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 9,680,941

Claim   US Patent   Description of the Infringement
        9,680,941




                    (Source: Page No. 193 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                    (Source: Page No. 193 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,680,941

Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner.
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                                                                                                                                             Exhibit A-1
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